
Olga Young, Respondent,
againstEmilia's Diamonds, Inc., Doing Business as Fortune Jewels, Appellant.




Emiliya's Diamonds, Inc., appellant pro se.
Olga Young, respondent pro se.

Appeal from a judgment of the Civil Court of the City of New York, Kings County (Katherine A. Levine, J.), entered October 29, 2015. The judgment, after a nonjury trial, awarded plaintiff the principal sum of $1,600.




ORDERED that the judgment is affirmed, without costs.
Plaintiff commenced this small claims action to recover the sum of $1,800, representing the balance allegedly due pursuant to defendant's agreement to purchase plaintiff's diamond ring and wedding band. After a nonjury trial, at which plaintiff, among other things, introduced defendant's check for the $1,800 upon which defendant had stopped payment, the Civil Court awarded judgment in favor of plaintiff in the principal sum of $1,600. Defendant appeals.
In a small claims action, our review is limited to a determination of whether "substantial justice has . . . been done between the parties according to the rules and principles of substantive law" (CCA 1807; see CCA 1804; Ross v Friedman, 269 AD2d 584 [2000]; Williams v Roper, 269 AD2d 125 [2000]). Furthermore, the determination of a trier of fact as to issues of credibility is given substantial deference, as a trial court's opportunity to observe and evaluate the testimony and demeanor of the witnesses affords it a better perspective from which to assess their credibility (see Vizzari v State of New York, 184 AD2d 564 [1992]; Kincade v Kincade, 178 AD2d 510, 511 [1991]). This deference applies with greater force to judgments rendered in the Small Claims Part of the court (see Williams v Roper, 269 AD2d at 126). 
As the record supports the Civil Court's determination in favor of plaintiff, and as plaintiff has not cross-appealed from the judgment, we find that the parties were provided with substantial justice according to the rules and principles of substantive law (see CCA 1804, 1807).
Accordingly, the judgment is affirmed.
SOLOMON, J.P., PESCE and ELLIOT, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: December 01, 2017










